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                                                              June 9, 2024

Via ECF

The Honorable Loretta A. Preska,
    United States District Court for the Southern District of New York,
        500 Pearl Street,
            New York, NY 10007.

                Re:     Petersen Energía Inversora S.A.U. v. Argentine Republic and YPF S.A.,
                        No. 15 Civ. 2739 (LAP); Eton Park Capital Mgmt. et al. v. Argentine
                        Republic and YPF S.A., No. 16 Civ. 8569 (LAP)

Dear Judge Preska:

                We write jointly on behalf of Plaintiffs and Defendant in connection with the
deadlines for the response and reply to Plaintiffs’ pre-motion letter filed on Friday, June 6, 2025
(Petersen ECF No. 736). The Republic seeks a one-week extension, to June 18, 2025, of the
Republic’s June 11, 2025 deadline to respond to Plaintiffs’ pre-motion letter. Plaintiffs consent to
this request provided that their deadline to submit their reply letter is extended from June 19, 2025
until June 25, 2025.

                There have been no previous extensions of the deadlines for the Republic’s
response or Plaintiffs’ reply with respect to this pre-motion letter. Accordingly, the parties jointly
request that the Court grant the extensions set forth above.

Respectfully,

/s/ Robert J. Giuffra, Jr.                        /s/ Andrew E. Goldsmith
Robert J. Giuffra, Jr.                            Andrew E. Goldsmith

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                                                  Petersen Energía, S.A.U., Eton Park Capital
                                                  Management, L.P., Eton Park Master Fund, Ltd.,
                                                  and Eton Park Fund




cc:     Counsel of Record (by ECF)
